Case 1:22-cv-01882-TWP-MKK Document 1 Filed 09/26/22 Page 1 of 6 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


EQUAL EMPLOYMENT                    )
OPPORTUNITY COMMISSION              )
                                    )                       CASE NO.: 1:22-1882
                   Plaintiff,       )
                                    )
vs.                                 )
                                    )
LILLY USA, LLC, a Domestic Limited )
Liability Company;                  )
                                    )
                                    )
                   Defendant.       )
_____________________________________/




                      COMPLAINT & DEMAND FOR JURY TRIAL

       Plaintiff United Stated Equal Employment Opportunity Commission (“EEOC”), seeks

relief for a class of individuals who were denied employment because of their age, and alleges

upon information and belief, as follows:

                                    NATURE OF ACTION

1.     This is an action under the Age Discrimination in Employment Act of 1967, as amended,

29 U.S.C. §§ 621, et seq (“ADEA”) to correct unlawful employment practices on the basis of age

and to provide appropriate relief for a class of individuals who were denied employment because

of their age. The ADEA prohibits discrimination against applicants and workers age 40 and over.

As alleged with greater particularity below, evidence will establish that, nationwide, Defendant

Lilly USA, LLC (“Lilly”) has failed to hire employees protected by the ADEA for

pharmaceutical sales representative positions based on their age. The EEOC seeks damages



                                                1
Case 1:22-cv-01882-TWP-MKK Document 1 Filed 09/26/22 Page 2 of 6 PageID #: 2




including back pay and liquidated damages for the class. The EEOC will further seek injunctive

relief.

                                   JURISDICTION AND VENUE

1.        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 451, 1331, 1337, 1343, and

1345. This action is also authorized and instituted pursuant to Section 7(b) of the Age

Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 626(b) (the “ADEA”),

which incorporates by reference Section 16(c) ad 17 of the Fair Labor Standards Act of 1938 (the

“FLSA”), as amended, 29 U.S.C. §§ 216(c) and 217.

2.        Employment practices alleged to be unlawful were committed within the jurisdiction of

the United States District Court for the Southern District of Indiana pursuant to 28 U.S.C. §

1391(b).

                                              PARTIES

3.         The EEOC is the agency of the United States of America charged with the

administration, interpretation, and enforcement of Title VII, and is expressly authorized to bring

this action by Section 7(d) of the ADEA, 29 U.S.C. § 626(b), as amended by Section 2 of the

Reorganization Plan No. 1 of 1978, 92 Stat. 3781, and by Public Law 98-532 (1984), 98 Stat.

2705.

4.         Defendant Lilly USA, LLC (“Lilly”), is a corporation headquartered in Indianapolis

Indiana and organized under the laws of the State of Indiana. Lilly specializes in the discovery,

development, manufacturing, marketing, and sales of pharmaceutical products.

5.        Defendant has continuously been doing business in the state of Indiana and in locations

throughout the United States and continuously has had at least 20 employees.




                                                   2
Case 1:22-cv-01882-TWP-MKK Document 1 Filed 09/26/22 Page 3 of 6 PageID #: 3




6.      At all relevant times, Defendant has been an employer engaged in an industry affecting

commerce within the meaning of Sections 11(b), (g), and (h) of the ADEA, 29 U.S.C. § 630(b),

(g), and (h).

                                  CONDITIONS PRECEDENT

7.      More than thirty days prior to the institution of the lawsuit, at least one charging party

filed a charge of discrimination with the Commission alleging violations of the ADEA.

8.      Prior to the institution of the lawsuit, the Commission’s representatives attempted to

eliminate the unlawful employment practices alleged below and effect voluntary compliance

with the ADEA through informal methods of conciliation, conference, and persuasion within the

meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(d).

9.      All conditions precedent to the institution of this lawsuit have been fulfilled.

                                  FACTUAL ALLEGATIONS

10.     On or around April 27, 2017, Lilly’s Senior Vice President for Human Resources and

Diversity, Steve Fry, presented at a Leadership Town Hall concerning Lilly’s 2017 People

Strategy.

11.     As part of his presentation, Fry recognized that Lilly’s workforce on a national level was

skewed toward the older generations, having 20% less Millennials than the American workforce.

12.     Fry suggested the lack of Millennials was a problem and that “[Lilly has] got to make

sure that we have a workface that is distributed . . . by generation.”

13.     Fry then announced that, to address the need for more Millennials in Lilly’s workforce,

the company would have a goal of 40% “Early Career” (“EC”) hiring.

14.     Following Fry’s announcement, Lilly managers nationwide changed hiring practices and

preferences to hire younger candidates for sales representative positions.



                                                  3
Case 1:22-cv-01882-TWP-MKK Document 1 Filed 09/26/22 Page 4 of 6 PageID #: 4




15.    For example, older candidates for certain sales representative positions needed higher

levels of review and approval before being extended an offer.

16.    Lilly intentionally under-hired applicants protected by the ADEA for sales representative

positions based on their age.

17.    Even after Lilly managers recognized that the EC hiring goals constituted unlawful age

discrimination, Lilly continued to under-hire applicants protected by the ADEA.

18.    Lilly’s EC goals remained in place through 2021.

                                     CAUSE OF ACTION

19.    As set forth in paragraphs ten (10) through eighteen (18), from April 2017 to December

2021, Defendants subjected a class of aggrieved applicants for sales representative positions to

an ongoing pattern or practice of discriminatory failure to hire such persons because of their age

in violation of Section 4 of the ADEA, 29 U.S.C. § 623(a).

20.    The unlawful employment practices complained of in paragraphs ten (10) through

eighteen (18) were willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                    PRAYER FOR RELIEF

WHEREFORE, the Commission respectfully requests that this Court:

       a. Grant a permanent injunction enjoining Defendants, their officers, agents, servants,

           employees, attorneys, and all persons in active concert or participation with them,

           from engaging in any employment practice which discriminates on the basis of age;

       b. Order Defendant to institute and carry out policies, practices, and programs, which

           provide equal employment opportunities for individuals covered by the ADEA, and

           which eradicate the effects of their past unlawful discrimination practices;




                                                 4
Case 1:22-cv-01882-TWP-MKK Document 1 Filed 09/26/22 Page 5 of 6 PageID #: 5




      c. Grant a judgment requiring Defendants to pay appropriate back wages in an amount

          to be determined at trial, an equal sum of liquidated damages, and prejudgment

          interest to individuals whose wages are being unlawfully withheld as a result of the

          acts complained of above, including but not limited to, individuals covered by the

          ADEA who were not hired because of their age;

      d. Order Defendants to make whole all individuals adversely affected by the unlawful

          employment practices described above, by providing the affirmative relief necessary

          to eradicate the effects of their unlawful employment practices, including but not

          limited to instatement, reinstatement, provide front pay in lieu of reinstatement, or

          otherwise make whole individuals denied employment because of their age;

      e. Order Defendants to provide training for supervisors and managers at all corporate

          levels specific to the ADEA;

      f. Grant such further relief as the Court deems necessary and proper in the public

          interest; and

      g. Award the Commission its costs of this action.

                                       JURY DEMAND

21.    The Commission requests a jury trial on all issues of fact raised by its complaint.



Dated: September 26, 2022

                                     Respectfully submitted,

                                     GWENDOLYN YOUNG REAMS
                                     Acting General Counsel
                                     U.S. Equal Employment
                                     Opportunity Commission
                                     131 M Street, N.E.
                                     Washington, D.C. 20507

                                                5
Case 1:22-cv-01882-TWP-MKK Document 1 Filed 09/26/22 Page 6 of 6 PageID #: 6




                             CHRISTOPHER LAGE
                             Deputy General Counsel
                             U.S. Equal Employment
                             Opportunity Commission
                             131 M Street, N.E.
                             Washington, D.C. 20507

                             ROBERT E. WEISBERG
                             Regional Attorney
                             Florida Bar No: 285676
                             Email: robert.weisberg@eeoc.gov
                             U.S. EQUAL EMPLOYMENT OPPORTUNITY
                             COMMISSION
                             Miami District Office
                             Miami Tower
                             100 S.E. 2nd Street, Suite 1500
                             Miami, Florida 33131

                             KRISTEN FOSLID
                             Supervisory Trial Attorney
                             Florida Bar No: 0688681
                             Email: kristen.foslid@eeoc.gov
                             U.S. EQUAL EMPLOYMENT OPPORTUNITY
                             COMMISSION
                             Miami District Office
                             Miami Tower
                             100 S.E. 2nd Street, Suite 1500
                             Miami, Florida 33131

                             s/Chelsae Johansen Ford
                             CHELSAE JOHANSEN FORD
                             Trial Attorney
                             Florida Bar No. 106029
                             Email: Chelsae.Ford@eeoc.gov
                             U.S. EQUAL EMPLOYMENT OPPORTUNITY
                             COMMISSION
                             Tampa Field Office
                             501 E. Polk Street, Suite 1000
                             Tampa, FL 33602
                             Tel: 813.710.9346




                                      6
